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                    1   COOLEY LLP
                        MICHAEL G. RHODES (116127) (rhodesmg@cooley.com)
                    2   TRAVIS LEBLANC (251097) (tleblanc@cooley.com)
                        KYLE C. WONG (224021) (kwong@cooley.com)
                    3   JOSEPH MORNIN (307766) (jmornin@cooley.com)
                        101 California Street, 5th Floor
                    4   San Francisco, CA 94111-5800
                        Telephone: (415) 693-2000
                    5   Facsimile: (415) 693-2222
                    6   DANIEL J. GROOMS (219124) (admitted pro hac vice)
                        (dgrooms@cooley.com)
                    7   1299 Pennsylvania Avenue, NW, Suite 700
                        Washington, DC 20004-2400
                    8   Telephone: (202) 842-7800
                        Facsimile: (202) 842-7899
                    9

                   10   Attorneys for Plaintiffs
                        WHATSAPP INC. and FACEBOOK, INC.
                   11

                   12                                 UNITED STATES DISTRICT COURT

                   13                           NORTHERN DISTRICT OF CALIFORNIA

                   14

                   15 WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
                      and FACEBOOK, INC., a Delaware
                   16 corporation,

                   17                                                PROOF OF SERVICE
                                        Plaintiffs,
                   18
                              v.
                   19
                        NSO GROUP TECHNOLOGIES LIMITED
                   20   and Q CYBER TECHNOLOGIES LIMITED,

                   21                   Defendants.

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                   23

                   24                           REDACTED VERSION OF DOCUMENT
                                                     SOUGHT TO BE SEALED
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COOLEY LLP
ATTORNEYS AT LAW                                                                               PROOF OF SERVICE
 SAN FRANCISCO
                                                                                     CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 59-22 Filed 04/29/20 Page 2 of 3



                    1                                       PROOF OF SERVICE
                    2          I am a citizen of the United States and a resident of Washington District of Columbia. I am

                    3   employed in Washington District of Columbia, in the office of a member of the bar of this Court,

                    4   at whose direction the service was made. I am over the age of eighteen years, and not a party to

                    5   the within action. My business address is Cooley LLP, 1299 Pennsylvania Avenue, Suite 700,

                    6   Washington D.C. 20004-2400. On the date set forth below I served the documents described below

                    7   in the manner described below:

                    8          1. [SEALED] WhatsApp’s Motion to Disqualify Defense Counsel Based on Prior

                    9             Representation in a Sealed Matter;

                   10          2. [SEALED] Declaration of Jacob Sommer in Support of WhatsApp’s Motion to

                   11             Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter;

                   12          3. [SEALED] Declaration of Travis LeBlanc in Support of WhatsApp’s Motion to

                   13             Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter;

                   14          4. [SEALED] Exhibit A to the Declaration of Travis LeBlanc in Support of WhatsApp’s

                   15             Motion to Disqualify Defense Counsel Based on Prior Representation in a Sealed

                   16             Matter;

                   17          5. [SEALED] Exhibit B to the Declaration of Travis LeBlanc in Support of WhatsApp’s

                   18             Motion to Disqualify Defense Counsel Based on Prior Representation in a Sealed

                   19             Matter;

                   20          6. [SEALED] Declaration of Nitin Gupta in Support of WhatsApp’s Motion to Disqualify

                   21             Defense Counsel Based on Prior Representation in a Sealed Matter;

                   22          7. [SEALED] Declaration of Daniel J. Grooms in Support of WhatsApp’s Motion to Seal

                   23             Documents Related to WhatsApp’s Motion to Disqualify Defense Counsel Based on

                   24             Prior Representation in a Sealed Matter;

                   25          8. [SEALED] WhatsApp’s Request for Judicial Notice;

                   26          9. [SEALED] Proposed Order Granting WhatsApp’s Request for Judicial Notice; and

                   27         10. [SEALED] This Proof of Service.

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COOLEY LLP
ATTORNEYS AT LAW                                                                                        PROOF OF SERVICE
 SAN FRANCISCO                                                         -2-
                                                                                              CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 59-22 Filed 04/29/20 Page 3 of 3



                    1                   (BY ELECTRONIC MAIL) I am personally and readily familiar with the business
                                       practice of Cooley LLP for the preparation and processing of documents in
                    2                   portable document format (PDF) for e-mailing, and I caused said documents to be
                                        prepared in PDF and then served by electronic mail to the parties listed below.
                    3
                        on the following third party:
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                                 Executed on April 10, 2020, at Washington District of Columbia.
                   11

                   12                                                        /s/ Daniel J. Grooms
                                                                                    Daniel J. Grooms
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ATTORNEYS AT LAW                                                                                        PROOF OF SERVICE
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                                                                                              CASE NO. 4:19-CV-07123-PJH
